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IN THE UNITED sTATEs DISTRICT CoURT t wm
0 R l 9 l N A L FoR THE NoRTHERN DIsTRICT oF TEXAS 2§;§ J, _5 §§ Q‘ 2
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UNITED sTATEs oF AMERICA No. 3;15-cr-00496-L f ‘ _..`.,\»_.W_
V.

USPLABS, LLC, A TEXAS
CORPORATION;

JACOBO GEISSLER (a.k.a. JACOB
GEISSLER);

JONATHAN DOYLE; _
MATTHEW HEBERT;

KENNETH MILES;

S. K. LABORATORIES, INC., A
CALIFORNIA CORPORATION;
SITESH PATEL; and

CYRIL WILLSON (a.k.a. ERIK WHITE).

 

FIRST SUPERSEDING INDICTMENT
The Grand Jury Charges:
At all times material to the indictment

The Defendants

1. USPlal)s, LLC (hereinafter, “USP Labs”) Was incorporated under the laws of the
State of TeXas and sold dietary supplements
2. Jacobo Geissler (a.k.a. Jacob Geissler) Was the co-founder, co-owner, and CEO
of USP Labs. Jacobo Geissler formulated products and oversaw all aspects of USP
Labs’ operation.
3. Jonathan Doyle Was the co-founder, co-owner, and president of USP Labs.
Along With Jacobo Geissler, Jonathan Doyle oversaw all aspects of USP Labs’

operations, With a focus on marketing

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4. Matthew Hebert was a co-owner of USP Labs with primarily responsibilities
over product packaging design.
5. S. K. Laboratories, Inc. (hereinafter, “S. K. Laboratories”) was incorporated
under the laws of the State of Califomia and was a Southem California-based dietary
supplement manufacturing firm. S. K. Laboratories was responsible for manufacturing
many of USP Labs’ products
6. Sitesh Patel was the vice president of S. K. Laboratories. He interfaced with
USP Labs and coordinated and oversaw the manufacture of some of USP Labs’
products.
7, Cyril Willson (a.k.a. Erik White) was a former co-owner of USP Labs. He was
responsible for coordinating much of USP Labs’ scientific research and for identifying
new substances as prospective ingredients for USP Labs’ products. When dealing with
the public on USP Labs matters, Cyril Willson used the fake name “Erik White.”

The Regulatorv Agencv
8. The United States Food and Drug Administration (“FDA”), was the federal agency
charged with the responsibility of protecting the health and safety of the public by
enforcing the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301-399f (“FDCA”).
One of the purposes of the FDCA was to ensure that foods entering interstate commerce
are safe to eat and bear labeling containing true and accurate information
9. The FDCA defined “food” as “articles used for food or drink for man or other
animals” and “articles used for components of any such article.” 21 U.S.C. § 321(f)(l)

and (3). The FDCA defined a dietary supplement, in part, as “a product (other than

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tobacco) intended to supplement the diet that bears or contains one or more of the
following dietary ingredients . . (A) a vitamin; (B) a mineral; (C) an herb or other
botanical. ...” 21 U.S.C. § 321(ff)(1). A dietary supplement was deemed to be a food
within the meaning of the FDCA. 21 U.S.C. § 321(ff). As a component of dietary
supplements dietary ingredients were also deemed to be “food” under the FDCA. 21
U.S.C. § 321(f)(3).
10. Food was misbranded under the FDCA if “its labeling is false or misleading in any
particular.” 21 U.S.C. § 343(a)(1).
11. A dietary supplement was adulterated under the FDCA if it was a “dietary
supplement . . . that present[ed] a significant or unreasonable risk of illness or injury
under conditions of use recommended or suggested in labeling.” 21 U.S.C. §
342(@(1)(A)(i)-
12. FDA had statutory authority under the FDCA to conduct inspections of, among
other things, any factory, warehouse, or establishment in which foods are manufactured,
processed, packed, or held for introduction into interstate commerce or after such
introduction 21 U.S.‘C. § 374(a)(1)(A).

Workout and Weight-Loss Dietarv Supplements
13. Two major segments of the dietary supplement industry were workout and weight-
loss supplements These segments focused, respectively, on products purporting to
heighten the impact of exercise and products purporting to help consumers lose weight.
The workout and weight-loss supplement segments were not stable, and they fluctuated

up and down depending on the changing popularity of “fad” products

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14. Some firms who made workout and weight-loss supplements attempted to find and
use new or previously-unused ingredients that could be put in new fad products These
new ingredients were often portrayed as having special properties and having been
derived from unique Sources like rare plants found in far-flung locations

15. These firms wanted to use purported new ingredients from new sources in workout
and weight-loss supplements in order to distinguish their products from the competition
Fad products based on these new ingredients from new sources, typically became
popular due to word of mouth among the target audiences-such as persons looking for a
competitive edge in bodybuilding or athletics, or ordinary consumers looking to lose
weight or control their appetites.

16. Dietary supplement manufacturers thus recognized the importance of dietary
supplement ingredients and the sources of those ingredients One important type of
document in the dietary supplement industry was called a “certificate of analysis,” or
“COA.” A COA was designed to be sent along with raw ingredients and was intended to
be a document from the ingredient provider certifying that the ingredient listed in the
COA had been tested or otherwise evaluated, and was actually what it purported to be.
For example, a dietary supplement manufacturer purchasing fish oil for use in a dietary
supplement would typically obtain a COA from the fish oil manufacturer stating that the
ingredient being sent was actually fish oil and had been tested to ensure it did not contain

dangerous levels of mercury or other toxic substances

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Dietary Supplement Retailers

17. Workout and weight-loss supplements were sold in large, national dietary
supplement retail chains as well as online retailers Workout and weight-loss
supplements were also sold in so-called “big box” retailers, pharmacies, and smaller
specialty stores throughout the country.
18. Retailers and wholesalers in the dietary supplement industry did not independently
verify the claims that manufacturers made about their dietary supplements Instead, they
relied on the representations made by manufacturers~such as on product labeling and in
COAs-to determine that the products were lawful to sell and actually contained what
they purported to contain. Retailers and wholesalers therefore depended on their ability
to obtain accurate information from manufacturers in order to ensure that they knew what
they were selling

USP Labs and Its Business Practices
19. USP Labs started out as a relatively small dietary supplement company that
primarily sold workout supplements direct to consumers At least as early as 2008, USP
Labs began seeking to formulate new supplements in the workout and weight-loss
segments of the dietary supplement industry. USP Labs did not manufacture any
products itself at its facilities in Dallas, Texas, but rather-as is typical in the dietary
supplement industry_contracted out the manufacturing to other companies One of
those companies was Anaheim, California-based S. K. Laboratories.
20. One of the primary ways USP Labs sought to set its products apart from

competitors was by its choices of ingredients In November 2008, USP Labs began

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selling a dietary supplement called Jack3d, which was followed by a dietary supplement
called OxyElite Pro in November 2009. Both Jack3d and OxyElite Pro originally
contained a substance called 1,3-dimethylamylamine (“DMAA”), which is also known as
methylhexaneamine. The DMAA used in Jack3d and OxyElite Pro was a synthetic
stimulant manufactured in China. A stimulant is a substance designed to give users a
boost of energy, or a “rush.” The DMAA USP Labs used was synthetic, meaning that it
was made from chemicals in a factory, not obtained from nature.

21. USP Labs had been introduced to the substance by S. K. Laboratories and its
vice president, Sitesh Patel. USP Labs and its principal Jacobo Geissler were
concerned about importing large amounts of DMAA, which Jacobo Geissler referred to
as a “questionable powder.” Jacobo Geissler was concerned because, as he told Sitesh
Patel in 2008, the “last thing” he wanted was for USP Labs to be “on the FDA radar.”
22. USP Labs, S. K. Laboratories, and their respective principals recognized that
importing and selling purported natural, plant-based substances would be easier than
selling synthetic stimulants_both because regulatory agencies would be less likely to
question the importation of plant extracts and because retailers would be more willing to
sell a product that contained-natural ingredients instead of synthetic ones. On this topic,‘
Sitesh Patel wrote in a July 2009 email to Jacobo Geissler and Jonathan Doyle:
“[R]etails might be more open if they see it’s an extract. Spoke with Jacob about this on
the phone we can do it either way, China can just doctor us a COA stating it’s an extract

We just need to make sure whatever is used it s[t]ays consistent throughout.”

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23. USP Labs and its principals embarked on an unmistakable course of conduct
where, starting at least with DMAA, they imported numerous shipments of substances
intended for human consumption using false and fraudulent COAS, and other false and
fraudulent documentation and labeling Instead of legitimate COAs that accurately
described the ingredients they imported, USP Labs and S. K. Laboratories frequently
caused Chinese chemical suppliers to create and send fake COAs so that the COAs would
match the lies USP Labs wanted to tell about the ingredients it was using For example,
in a September 2008 email discussing the creation of Jack3d, Sitesh .Patel instructed
Jacobo Geissler and Jonathan Doyle: “Have your supplier create a COA like this” In
that email, Sitesh Patel included the text of the fake COA that USP Labs would use,
nearly word-for-word, to import DMAA for years

24. In the case of DMAA, USP'Labs used fraudulent COAs to portray the chemical it
imported as having been extracted from “geranium flower powder” using a “hydro-
alcoholic” extraction method at a 200-to-1 ratio. Regardless of whether DMAA actually
occurred in nature, these statements were false because USP Labs was using a synthetic
stimulant from a Chinese chemical factory, not a substance extracted from geraniums. In
one email exchange from May 2009, Sitesh Patel told Jacobo Geissler and Jonathan
Doyle about the DMAA in their products: “lol stuff is completely 100% synthethic
[sl'c].”

25. The DMAA-containing versions of Jack3d and OxyElite Pro became bestselling

dietary supplements in the United States, generating hundreds of millions of dollars in

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sales The extreme success of these products was unexpected, and USP Labs often had
difficulty meeting demand.

26. Starting in or around 2010, and continuing for several years, use of DMAA in the
dietary supplement industry was the subject of intense controversy The controversy
arose in part because of concerns about the source of DMAA and in part because of
concerns about health risks DMAA may pose. USP Labs and its principals took steps to
quell that controversy because their products were the most successful DMAA-containing
products on the market: USP Labs, Jacobo Geissler, Jonathan Doyle, and Cyril
Willson agreed to engage in surreptitious online attacks against competitors whom they
believed to be behind negative industry press stories about DMAA. USP Labs, Jacobo
Geissler, Jonathan Doyle, and Matthew Hebert also told lies to certain retailers-
including a New Jersey-based company, Company A--claiming falsely that the DMAA
in USP Labs’ products was a natural extract sourced from geranium plants Jacobo
Geissler and Jonathan Doyle also testified falsely under oath in December 2010, in a
case about a professional athlete who failed a drug test because of Jack3d, that USP Labs
used natural DMAA from geraniums in its products In early 2012, about a month after
the Department of Defense ordered DMAA-containing products pulled from stores on
U.S. military bases in order to conduct a safety review of those products, USP Labs
provided a misleading answer to a dietary supplement industry publication when asked
directly whether its DMAA was naturally sourced. USP Labs’ story about its use of

DMAA changed over time, and the company then discontinued use of DMAA in 2013.

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27 . At times because of this controversy and at times because of the company’s desire
to create the newest “fad” supplement, from at least 2008, until at least 2013, USP Labs
also frequently imported other chemicals from China in smaller quantities and under false
labeling in order to be able to test those chemicals to see whether they could be used in
new dietary supplements USP Labs used false labeling so that these test shipments
would not come under scrutiny by regulatory agencies In a typical email exchange,
Jacobo Geissler instructed a Chinese chemical supplier, with respect to a number of test
chemicals: “Please send as Green coffee samples and send them all together. . . . And
don’t label the individual bags Label as green coffee sample 1, 2, 3 etc.” In another
example, Jacobo Geissler instructed a different Chinese chemical supplier: “Please ship
6 Bromo by DHL to address we ship Geranium to. Please use fake CGA.” Jacobo
Geissler, Jonathan Doyle, and other USP Labs employees frequently tested these
chemicals on themselves

28. Meanwhile, one of the synthetic test chemicals that USP Labs imported from
China was called “aegeline.” The aegeline USP Labs used was a synthetic version of an
extract from a tree that is native to India. USP Labs had first imported aegeline in 2011,
and instructed its Chinese supplier to label the bag as “green coffee” in order to avoid
scrutiny by regulatory agencies Jacobo Geissler took aegeline himself and liked how it
y made him feel, so he decided, in 2012, that aegeline would be the replacement for
DMAA in OxyElite Pro.

29. The first aegeline-containing version of OxyElite Pro, which was called OxyElite

“New Formula” (also called “Super Thermo” and “Purple Top”), went on sale in or

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around December 2012, but did not sell as well as the DMAA-containing version. So,
USP Labs endeavored to reformulate the product again in summer 2013. This time,
Jacobo Geissler sought to reformulate the product with-in addition to aegeline-an
extract from a Chinese herb called cynanchum auriculatum, which USP Labs thought
might have weight-loss effects

30. Jacobo Geissler was unable to find the extract itself that he wanted for sale in
China, so he agreed that the Chinese supplier would send pulverized roots of cynanchum
auriculatum instead. He agreed that the ingredient would be mislabeled upon import as
“cynanchum auriculatum root extract” for use in the product. The cynanchum
auriculatum powder that USP Labs imported was not only much cheaper than an actual
extract, but it also contained only minuscule amounts, if any, of the compounds that USP
Labs believed might have weight-loss effects

31. While evaluating cynanchum auriculatum as an ingredient, USP Labs recognized
that the substance could potentially cause “liver toxicity,” but Jacobo Geissler and Cyril
Willson believed that because they were not actually using an extract of the root§ there
was not enough potentially toxic material in the product to hurt people, even though they
had not done a single test to determine whether cynanchum auriculatum-as an extract,
as ground-up roots, or otherwise-was safe or effective.

32. The cynanchum auriculatum-containing product, called OxyElite Pro “Advanced
Formula,” went on sale in or around August 2013. Jacobo Geissler had instructed the
Chinese chemical seller to misbrand its shipments of cynanchum auriculatum, which

included fake COAs stating falsely that the substance was an ethanol extract. The

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product was also intentionally misbranded to declare “cynanchum auriculatum (root)
extract” as an ingredient USP Labs released advertisements touting the “hard-hitting
super extracts” in OxyElite Pro Advanced Formula, but the first “super extract” the
advertisements listed-cynanchum auriculatum (root) extract_was not in the product
33. In fall 2013, shortly after OxyElite Pro Advanced Formula went on sale, an
outbreak of liver injuries was associated with USP Labs’ products containing aegeline.
Numerous consumers experienced jaundice and other liver-related symptoms and several
consumers needed liver transplants in order to save their lives

34. ln October 2013, FDA conducted emergency inspections of USP Labs and S. K.
Laboratories in order to identify whether USP Labs’ products were the source of the
liver injury outbreak. USP Labs promised FDA and the public that it would cease
distribution of OxyElite Pro, but USP Labs internally engaged in a surreptitious, all-
hands-on-deck effort to sell as much OxyElite Pro as it could as quickly as possible, and
attempted to ship the rest of the OxyElite Pro in its possession out of the United States to
avoid having FDA seize the product.

35. During the liver-injury outbreak, USP Labs also put out a misleading press release
saying that all of the ingredients in OxyElite Pro had been studied and showed “no
negative liver issues” In fact, Jacobo Geissler and Cyril Willson knew that a study had '
shown “liver issues” with cynanchum auriculatum, and Jacobo Geissler quickly

instructed that cynanchum auriculatum and aegeline be removed from the product

’ formula going forward.

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Count One
Conspiracy to Commit Wire Fraud
(Violation of 18 U.S.C. § 1349 (18 U.S.C. § 1343))
Against Defendants USP Labs; Jacobo Geissler; Jonathan Doyle; Matthew Hebert;
S.K. Laboratories; Sitesh Patel; and Cvril Willson
36. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs l through 35 of this Indictment as though fully set forth herein.
The Conspiracy and Its Obiects l

37. Beginning in or around October 2008, the exact date being unknown to the Grand
Jury, and continuing thereafter until at least in or around August 2014, in the Dallas
Division of the Northern District of Texas, and elsewhere, the defendants USP Labs,
Jacobo Geissler, Jonathan Doyle, Matthew Hebert, S. K. Laboratories, Sitesh Patel,
and Cyril Willson, did knowingly and willfully combine, conspire, confederate, and
agree with others known and unknown to the Grand Jury, to commit the offense of wire
fraud, in violation of 18 U.S.C. § 1343, by transmitting and causing to be transmitted in
interstate commerce, by means of wire and radio communications certain writings signs
signals and sounds for the purpose of executing and attempting to execute a scheme and
artifice to defraud and to obtain money and property from dietary supplement
distributors retailers and consumers by means of materially false and fraudulent
pretenses representations and promises
38. The object of the conspiracy was to enrich the co-conspirators by using false and

misleading statements advertisements documentation, labeling, and illicit payments to

import and sell in interstate commerce a variety of chemicals for human consumption

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The Manner and Means of the Conspiracy
39. The manner and means by which the conspiracy and joint scheme and artifice to
defraud was sought to be accomplished included:
a. USP Labs, Jacobo Geissler, S. K. Laboratories and Sitesh Patel imported
chemicals from Chinese chemical sellers for use in dietary supplements Two of the
chemicals they imported were DMAA and cynanchum auriculatum root powder, both of
which were used in versions of OxyElite Pro.
b. USP Labs and Jacobo Geissler instructed and agreed with Sitesh Patel and
others to have those chemicals shipped with false labeling in interstate commerce, For
example, Jacobo Geissler agreed with a Chinese chemical seller to have two metric tons
of pulverized cynanchum auriculatum root powder shipped from China to S. K.
Laboratories in California using the false name “cynanchum auriculatum root extract.”
c. Sitesh Patel and S. K. Laboratories received fake documentation for shipments
of “Geranium Flower (HG) Powder Extract” (which was actually not geranium flower
powder extract, but rather DMAA) and “cynanchum auriculatum root extract” (which
was actually not cynanchum auriculatum root extract) that arrived at S. K. Laboratories
in California, and they then incorporated those ingredients into products that were sold to
consumers
d. USP Labs, Jacobo Geissler, Jonathan Doyle, S. K. Laboratories and Sitesh
Patel ensured that certain ingredient shipments arriving in the United States for use in
USP Labs’ products bore fraudulent COAs In the case of DMAA, those COAs stated

falsely, among other things that the substance in the shipments had been extracted from

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the geranium plant using a “hydro-alcoholic” extraction method at a 200-to-1 ratio. In
the case of cynanchum auriculatum, those COAs stated falsely, among other things that
the substance had been extracted using “ethanol.”

40. It was further part of the manner and means of the conspiracy and the joint scheme
and artifice to defraud that:

a. USP Labs and S. K. Laboratories used fake COAs and other documentation to
justify false and misleading product labeling and to prepare manufacturing records
including finished-product COAs that would make the products appear legitimate USP
Labs also sometimes gave the fake COAs and other documentation to third parties to
prove it was using the ingredients it claimed to be using.

b. In or around May 2010, USP Labs Jacobo Geissler, and Matthew Hebert
emailed and caused to be emailed to Company A, a dietary supplement retailer in New
Jersey, false and fraudulent C()As and other statements falsely representing that USP
Labs got the DMAA in its products from geranium plants

c. In or around August 2010, after a private lawsuit was filed against USP Labs
about the DMAA in Jack3d, USP Labs Jacobo Geissler, Jonathan Doyle, Matthew
Hebert, S. K. Laboratories, and Sitesh Patel took pre-existing COAs for DMAA-
which themselves contained false statements that the DMAA had been extracted from the
“whole plant”--and altered and attempted to alter those COAs in order to conform them
to the false claims made by USP Labs that its DMAA was sourced from “geranium

stems.”

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d. Jacobo Geissler and Jonathan Doyle testified falsely under oath during
depositions in December 2010, that the DMAA in their products was not synthetic, but
rather was naturally sourced from geranium plants
e. USP Labs sent false labels listing “cynanchum auriculatum (root) extract” as an
ingredient in OxyElite Pro Advanced Formula to retailers and wholesalers even though
that ingredient was not present in the product.
41. It was further part of the manner and means of the conspiracy and the joint scheme
and artifice to defraud that:
a. USP Labs Jacobo Geissler, Jonathan Doyle, Matthew Hebert, and Cyril
Willson made and caused to be made false and misleading statements about the

’ purported ingredients in USP Labs’ products such as DMAA and cynanchum
auriculatum root powder'. In the case of DMAA, the co-conspirators made and caused to
be made misleading statements about the purported “geranium” contained in their
products such as in the following promotional guide directed to retail salespeople at
Company B, a large dietary supplement retailer:

Geranium (stems) = Shown to be more powerful than ephedrine ih some respects
with zero of the associated side-ejj”ects!

ln reality, the co-conspirators did not obtain DMAA from geranium stems At the time
they made these statements the co-conspirators had no idea whether purported “natural
DMAA” from geranium stems had the same properties as the synthetic stimulant they
used in their products nor whether the synthetic stimulant they used had “zero” of the

side effects of ephedrine.

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b. In the case of cynanchum auriculatum, the co-conspirators made and caused to be
made misleading statements such as in the following advertisement directed at the public:
Cynanchum Auriculatum (Root) Extract
T his herb is native to Asian temperate and tropical regions such as China and
Nepal. lt ’s long been used as food and for a variety of purposes by those in these

regions

More recently, ethanol extracts derived from the roots of this herb have been
studied both in vitro and in vivo,' producing exciting emerging data.

In reality, the extracted ingredient USP Labs advertised was not in the product.

42. It was further part of the manner and means of the conspiracy and the joint scheme
and artifice to defraud that, around the time when Company B beganquestioning USP
Labs’ use of DMAA and telling USP Labs to reformulate Jack3d and OxyElite Pro, USP
Labs Jacobo Geissler, and Jonathan Doyle began directing illicit kickback payments to
Person X, a corporate employee of Company B involved in ordering and distributing
USP Labs’ products with the intent of ensuring that special attention was paid to USP
Labs’ products by Company B.

43. Retailers and wholesalers relied on the statements and documentation USP Labs
provided about its products USP Labs’ misrepresentations during the conspiracy
described in this Count allowed USP Labs to establish its products as mainstream best
sellers in the dietary supplement industry, and those misrepresentations further prevented
retailers from removing USP Labs’ products from the stream of commerce despite

various concerns regarding the sale of those products

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44. During the period from‘in or around October 2008 through October 2013, the
conspirators collected at least $400,000,000 in revenue that they would not have obtained

absent the conspiracy described in this Count.

All in violation of 18 U.S.C. § 1349.

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Counts Two to Five
Wire Fraud

g (Violation of 18 U.S.C. § 1343)

Against Defendants USP Labs; Jacobo Geissler; Jonathan Dovle; Matthew Hebert;

S. K. Laboratories; Sitesh Patel; and Cyril Willson
45. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35 of this Indictment as though fully set forth herein.
The Scheme and Artifice to Defraud
46. From at least in or around October 2008, until in or around August 2014, in the
Dallas Division of the Northern District of Texas, and elsewhere, the defendants USP
Labs Jacobo Geissler, Jonathan Doyle, Matthew Hebert, S. K. Laboratories Sitesh
Patel, and Cyril Willson, knowingly devised and intended to devise a scheme and
artifice to defraud and to obtain money and property from retailers distributors and
consumers of dietary supplements by materially false and fraudulent pretenses
representations and promises
The Manner and Means of the Scheme and Artifice
47. Paragraphs 39 through 44 are re-alleged and incorporated by reference as though
fully set forth herein as a description of the scheme and artifice.
The Execution of the Scheme and Artifice

48. On or about the following dates in the Northern District of Texas, and elsewhere,
for the purpose of knowingly executing the scheme and artifice to defraud, and

attempting to do so, USP Labs Jacobo Geissler, Jonathan Doyle, Matthew Hebert, S.

K. Laboratories Sitesh Patel, and Cyril Willson did cause to be transmitted in

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interstate commerce, by means of wire communications and writings-_that is false and

fraudulent COAs and other documents instructions to create false documents and other

false and fraudulent statements in emails_as set forth in each Count below:

 

 

 

 

 

 

 

 

 

 

Count Date From To Contents of Email
(Location) ` (Location)
2 5/14/2010 Matthew Person Z Fraudulent “Geraniurn” COA and
Hebert (New email telling retailer that USP
(Massachusetts) Jersey); Labs’ DMAA was a natural
Jacobo extract
Geissler
(Texas)
3 8/16/2010 Jonathan Doyle Sitesh Patel Email chain discussing altering
' (Texas) (California) “Geranium” COAs to contain
false information
4 9/28/2010 Person Y Sitesh Patel Documents for a shipment of
(Texas) (California) “Geranium” for use in USP Labs’
products including fake COA
altered at co-schemers’ direction
5 8/12/2013 Cyril Willson Jonathan Draft product advertisement
(Nebraska) Doyle featuring false claims about
(Texas) cynanchum auriculatum (root)
extract that were ultimately
included on USP Labs’ website

 

All in violation of 18 U.S.C. § 1343.

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Count Six
Obstruction of an Agency Proceeding
(Violation of 18 U.S.C. § 1505 and 18 U.S.C. § 2)
Against Defendants USP Labs; Jacobo Geissler; Jonathan Dovle; and Matthew
_ll¢;ll§r_t
49. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35 and 39 through 44 of this Indictment as though fully set
forth herein.
50. In October 2013, FDA was conducting an investigation in response to reports of
an outbreak of liver injuries associated with USP Labs’ products containing aegeline.
Among other things investigators were conducting inspections of USP Labs in Dallas as
well as other facilities storing USP Labs’ products to determine whether USP Labs’
products containing aegeline were responsible for the outbreak. l
51. USP Labs Jacobo Geissler, Jonathan Doyle, and Matthew Hebert were aware
of FDA’s investigation into its aegeline-containing products
52. On or about October 8, 2013, USP Labs promised FDA that it would “cease
distribution” of OxyElite Pro products
53. Thereafter, USP Labs Jacobo Geissler, Jonathan Doyle, and Matthew Hebert
distributed and caused the distribution of OxyElite Pro in order to, among other things
prevent FDA from exercising its regulatory powers to seize the products and otherwise
respond to the outbreak. During the liver-injury outbreak and after USP Labs’ promise

to FDA, USP Labs employees sold aegeline-containing products over the phone in order

to avoid creating a paper trail.

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54. USP Labs Jacobo Geissler, Jonathan Doyle, and Matthew Hebert otherwise
corruptly attempted to obstruct and impede FDA’s investigation by failing to provide
material information about OxyElite Pro, the anticipated shipments thereof, and the
promotional activities therefor.

55. Beginning on or about October 8, 2013, in the Dallas Division of the Northern
District of Texas and elsewhere, and continuing until on or about November 11, 2013,
the defendants USP Labs Jacobo Geissler, Jonathan Doyle, and Matthew Hebert,
aiding and abetting one another, did corruptly influence, obstruct, impede and endeavor
to influence, obstruct and impede the due and proper administration of law under which a
proceeding was being held before the United States Food and Drug Administration, an
agency of the United States

All in violation of 18 U.S.C. §§ 1505 and 2.

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Count Seven
Conspiracy to Introduce Misbranded Food Into Interstate Commerce
With an Intent to Defraud and Mislead
(Violation of18 U.S.C. § 371 (21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(2)))
Against Defendants USP Labs; Jacobo Geissler; Jonathan Doyle; Matthew Hebert;
S. K. Laboratories; Sitesh Patel; and Cvril Willson
56. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35 and Paragraphs 39 through 44 of this Indictment as
though fully set forth herein.
57.y In exercising their regulatory powers FDA and other government agencies relied
on the labeling contained in and otherwise accompanying interstate shipments of food to
identify the contents
The Conspiracy and Its Obiects

58. Beginning in or around October 2008, the exact date being unknown to the Grand
Jury, and continuing thereafter until at least in or around August 2014, in the Dallas
Division of the Northern District of Texas, and elsewhere, the defendants USP Labs
Jacobo Geissler, Jonathan Doyle, Matthew Hebert, S. K. Laboratories, Sitesh Patel,
and Cyril Willson, did knowingly and willfully combine, conspire, confederate, and
agree with others known and unknown to the Grand Jury, to commit an offense against
the United States that is to introduce misbranded food into interstate commerce with an
intent to defraud and mislead, in violation of21 U.S.C. § 331(a) and 21 U.S.C. §
333(a)(2).
59. The object of the conspiracy was to avoid law enforcement attention and match

imported substances with false and misleading product labeling by importing and

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shipping in interstate commerce a variety of chemicals for use in dietary supplements
with false labeling, rendering the items misbranded under 21 U.S.C. § 343(a)(1).

The Manner and Means of the Conspiracy
60. The manner and means by which the conspiracy was sought to be accomplished
included, among other things the following:
a. lt was part of this conspiracy that USP Labs Jacobo Geissler, and Cyril Willson
identified chemicals that they wanted to test as prospective dietary supplement
ingredients and use as actual dietary supplement ingredients
b. lt was part of this conspiracy that USP Labs ordered chemicals from Chinese
chemical sellers as prospective and actual ingredients for use in dietary supplements and
instructed and agreed to have those powders labeled falsely as other food substances
c. It was part of this conspiracy that S. K. Laboratories and Sitesh Patel received
chemicals from and on behalf of USP Labs with the knowledge that those chemicals
were labeled falsely as other substances

Overt Acts

61. Gn or about September 28, 2010, Sitesh Patel and S. K. Laboratories received
documentation for a shipment of 1,000 kilograms of “Geranium Flower (HG) Powder
Extract” that was scheduled to arrive at S. K. Laborat.ories in California after having
been shipped from Texas. Sitesh Patel and S. K. Laboratories knew that the labeling of
the shipment was false because the substance in the shipment was not Geranium Flower

Powder Extract, but was instead DMAA, a synthetic stimulant.

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62. On or about December 8, 2011, Jacobo Geissler instructed a Chinese chemical
seller via email to misbrand a shipment of nine different chemicals (Norathyriol
Annuloline, Aegelin, Tembamide, N-Benzoyltyramine, Alatamide, N-benzoyl tyramine
methyl ether, N-(2-[3,`4-dimethoxyphenyl]ethyl)-3,4-dimethoxyphenylacetamide, and
Herclavine) sent from China to USP Labs in Texas by writing: “Please send as Green
coffee samples and send them all together. . . . And don’t label the individual bags
Label as green coffee sample l, 2, 3 etc.”
63. On or about June 15, 2013, Jacobo Geissler agreed with a Chinese chemical seller
to have two metric tons of ground cynanchum auriculatum root powder shipped
internationally to S. K. Laboratories in California, for inclusion in USP Labs’ products
using the false name “cynanchum auriculatum root extract.”

All in violation of 18 U.S.C. § 371 (21 U.S.C. § 331(a) and 21 U.S.C. §

333(a)(2)).

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Introduction of Adulterated Food Into Interstate Commerce
With an Intent to Defraud and Mislead
(Violation of21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(2) and 18 U.S.C. § 2)
Against Defendants USP Labs and Jacobo Geissler

64. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35 and Paragraphs 39 through 44 of this Indictment as
though fully set forth herein.
65. On or about October 4, 2013, in the Dallas Division of the Northern District of
Texas and elsewhere, the defendants USP Labs and Jacobo Geissler, aiding and
abetting one another, with the intent to defraud and mislead, caused the shipment of
misbranded OxyElite Pro “Advanced Formula” in interstate commerce, The food was
misbranded under the FDCA because its labeling, which falsely declared cynanchum
auriculatum (root) extract as an ingredient even though it was not contained in the

product, “[was] false [and] misleading.” 21 U.S.C. § 343(a)(1).

All in violation of21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(2) and 18 U.S.C. §

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Count Nine

Introduction of Misbranded Food Into Interstate Commerce
(Violation of21U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1))
Against Defendants Jonathan Dovle; Matthew Hebert; Kenneth Miles; S. K.
Laboratories; and Sitesh Patel '

 

66. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35 and 39 through 44 of this Indictment as though fully set
forth herein.

67. At all times relevant to this count, Kenneth Miles was the quality assurance
executive in charge of ensuring the compliance of USP Labs’ products with the FDCA.
68. On or about October 4, 2013, in the Dallas Division of the Northern District of
Texas and elsewhere, the defendants Jonathan Doyle, Matthew Hebert, Kenneth
Miles S. K. Laboratories, and Sitesh Patel, shipped and caused the shipment of
misbranded OxyElite Pro “Advanced Formula” in interstate commerce, in violation of 21 `
U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1). The food was misbranded under the FDCA
because its labeling, which falsely declared cynanchum auriculatum (root) extract as an
ingredient even though it was not contained in the product, “[was] false [and]
misleading.” 21 U.S.C. § 343(a)(1).

All in violation of21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1).

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Count Ten
Introduction of Adulterated Dietary Supplement lnto Interstate Commerce
(Violation of21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1))
Against Defendants USP Labs; Jacobo Geissler; Jonathan Dovle; Matthew Hebert;
Kenneth Miles; S. K. Laboratories; and Sitesh Patel

69. The Grand Jury re-alleges and incorporates by reference all of the allegations set
out in Paragraphs 1 through 35, 39 through 44, and Paragraph 67 of this Indictment as
though fully set forth herein.
70. On or about February 21, 2013, in the Dallas Division of the Northern District of l
Texas, and elsewhere, the defendants USP Labs Jacobo Geissler, Jonathan Doyle,
Matthew Hebert, Kenneth Miles S. K. Laboratories and Sitesh Patel, shipped and
caused the shipment of adulterated OxyElite Pro “New Formula” (also known as
OxyElite Pro “Super Thermo” and “Purple Top”) in interstate commerce, in violation of
21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1). The dietary supplement was adulterated
because it was “a dietary supplement . . . that present[ed] a significant or unreasonable
risk of illness or injury under conditions of use recommended or suggested in labeling.”

21 U.s.c. § 342(n(1)(A)(i).

All in violation of21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1).

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Count Eleven
Conspiracy to Commit Money Laundering
(Violati_on of 18 U.S.C. § 1956(h))
Against Defendants USP Labs; Jacobo Geissler; Jonathan Dovle; and Matthew
LIe_b£r_t

71. From on or about June 2010, through February 2015, in the Northern District of
Texas, and elsewhere, the defendants USP Labs Jacobo Geissler, Jonathan Doyle, and
Matthew Hebert, did knowingly combine, conspire, and agree with each other and with
other persons known and unknown to the Grand Jury to commit offenses against the
United States in violation of Title 18, United States Code, Sections 1956 and 1957, to
wit:

a. ' To knowingly conduct and attempt to conduct financial transactions
affecting interstate commerce and foreign commerce, which transactions involved the
proceeds of specified unlawful activity, that is wire fraud and conspiracy to commit wire
fraud, knowing that the transactions were designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and control of the proceeds of specified
unlawful activity, and that while conducting and attempting to conduct such financial
transactions knew that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, in violation of 18 U.S.C. § 1956(a)(1)(B)(i);

b. To knowingly engage and attempt to engage, in monetary transactions by,
through or to a financial institution, affecting interstate and foreign commerce, in

criminally derived property of a value greater than $10,000, with such property having

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been derived from a specified unlawful activity, that is wire fraud and conspiracy to
commit wire fraud, in violation of 18 U.S.C. § 1957.

The Manner and Means of the Conspiracy
72. lt was part of the conspiracy that USP Labs Jacobo Geissler, Jonathan Doyle,
and Matthew Hebert and other persons both known and unknown to the Grand Jury:

a. Transferred over $230,000,000 of the wire fraud and wire fraud conspiracy
proceeds from the USP Labs business account at Chase to the USP Labs Charles
Schwab accounts;

b. Once received in the USP Labs Charles Schwab accounts transferred over
8154,000,000 to at least 21 other financial accounts maintained at Charles Schwab, Chase
Bank, TD Ameritrade Bank, TD Bank, and Bank of America;

c. l\/loved assets through seemingly unrelated shell business entities and
concealed the source and nature of the proceeds derived from wire fraud and conspiracy
to commit wire fraud in order to hide assets from victims of USP Labs’ illegal conduct
and from the government; and

d. Commingled the proceeds derived from wire fraud and conspiracy to
commit wire fraud with legitimately earned assets in an effort to conceal the true source
and nature of the criminally derived funds

All in violation of 18 U.S.C. § 1956(h), the penalty for which is set forth in 18

u.s.C. § 1956(a)(1).

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Notice of Forfeiture
[18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(0); 18 U.S.C. § 982(a)(1)(A)]

74. The allegations contained in Counts One through Count Eleven of this Indictment
are hereby realleged and incorporated by reference for the purpose of criminal forfeiture
75. Upon conviction for any of the offenses set forth in Counts One through Five of
this lndictment, the defendants USP Labs Jacobo Geissler, Jonathan Doyle, Matthew
Hebert, Kenneth Miles S.K. Laboratories, Sitesh Patel, and Cyril Willson, shall
forfeit to the United States of America, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, which constitutes or is derived from
proceeds traceable to the respective offense.
76. Upon conviction for the offense set forth in Count Eleven of this lndictment, the
defendants USP Labs Jacobo Geissler, Jonathan Doyle, and Matthew Hebert, shall
forfeit to the United States of America, pursuant to 18 U.S.C. § 982(a)(1)(A), any
property, real or personal, involved in, or traceable to property involved in, the offense.
77. The property to be forfeited includes but is not limited to, the following:

Financial Accounts:

a. All funds monies and things of value contained in Account #9137-
1801, in the name of Doyle Family lnvestments LLC at Charles
Schwab.

b. All funds monies and things of value contained in Account #7235-

5867, in the name of Doyle Family lnvestments LLC (DFl 1) at
Charles Schwab.

c. All funds monies and things of value contained in Account #2093-
6547, in the name of DFI2 at Charles Schwab.

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All funds monies and things of value contained in Account #5912-
1116, in the name of DFI3 DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #9423-
5302, in the name of JVD DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #6973-
4499, in the name of CHD DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #5843-
0481, in the name of DVJ-ETH LLC at Charles Schwab.

All funds monies and things of value contained in Account #9245-
3809, in the name of J on Doyle TTEE USPLabs LLC Retirement
Plan FBO Jon Doyle at Charles Schwab.

All funds monies and things of value contained in Account #4413-
1720, in the name of J on Doyle TTEE USPLabs LLC Retirement
Plan FBO Jacob Geissler at Charles Schwab.

All funds monies and things of value contained in Account #2102-
2960, in the name of Jacob E Geissler at Charles Schwab.

All funds monies and things of value contained in Account #2618-
3391, in the name of J G Ventures LLC at Charles Schwab.

All funds monies and things of value contained in Account#5211-
4965, in the name of JG Ventures LLC at Charles Schwab.

All funds monies and things of value contained in Account #3682-
0734, in the name of Geissler lnvestments LLC at Charles Schwab.

All funds monies and things of value contained in Account #4318-
2228, in the name of Geissler lnvestments LLC at Charles Schwab.

All funds monies and things of value contained in Account #3633-
3489, in the name of Geissler lnvestments LLC Portfolios at Charles
Schwab.

All funds monies and things of value contained in Account #3949-
6550, in the name of JEG lnvestments LLC at Charles Schwab.

 

 

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All funds monies and things of value contained in Account #4148-
9742, in the name of JEG lnvestments LLC at Charles Schwab.

All funds monies and things of value contained in Account #8237-
4961, in the name of JEG lnvestments LLC Portfolios at Charles
Schwab.

All funds monies and things of value contained in Account #9868-
1193, in the name of JEG lnvestments DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #8265-
7257, in the name of JEG Endeavors at Charles Schwab.

All funds monies and things of value contained in Account #3506-
2445, in the name of GS-ETH LLC at Charles Schwab.

All funds monies and things of value contained in Account #1585-
2243, in the name of ETH lnsurance Company Inc. at Charles
Schwab.

All funds monies and things of value contained in Account #5995-
7559, in the name of Straight CH lnsurance Inc. at Charles Schwab.

All funds monies and things of value contained in Account #7812-
4442, in the name of BFB lnsurance Company Inc. at Charles
Schwab.

All funds monies and things of value contained in Account #1827-
5797, in the name of M19 Eleven lnsurance Company at Charles
Schwab.

All funds,`monies, and things of value contained in Account #6887-
5723, in the name of RB lnvestments DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #3368-
5718, in the name of RB lnvestments DE LLC at Charles Schwab.

All funds monies and things of value contained in Account #5253-
5132, in the name of RB lnvestments DE LLC at Charles Schwab.

 

 

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All funds monies and things of value contained in Account #9140-
2357, in the name of Charitable Fund-Jacob and Ruth Donor at
Charles Schwab.

All funds monies and things of value contained in Account #6043-
4243, in the name of Hebert lnvestments at Charles Schwab.

All funds monies and things of value contained in Account #916-
063170, in the name of Hebert lnvestments LLC at TD Ameritrade.

All funds monies and things of value contained in Account
#51726890, in the name of JG Ventures LLC at Raymond J ames

All funds monies and things of value contained in Account
#676201922, in the name of Geissler lnvestments LLC at Fidelity
lnvestments

All funds monies and things of value contained in Account #824-
6265181, in the name of Matthew Hebert at TD Bank,

All funds monies and things of value contained in Account #872-
9060834, in the name of Matthew Hebert at TD Bank.

All funds being held by or placed with the Intemal Revenue Service
concerning or related to Internal Revenue Code 6603 and taxpayer(s)
Jonathan Doyle.

Real Property:

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The real property located at 8001 Tulane St., Dallas Dallas County,
Texas more specifically described as Lot 11, in Block 49, of
University Heights Fifth Installment, an Addition to the City Of
University Park, Dallas County, Texas according to the Map thereof

' recorded in Volume 7, Page 123,of the Map Records of Dallas

County, Texas.

The real property located at 3538 Miles St,, Dallas Dallas County,
Texas more specifically described as Lot 16B, Block 6/2467 of
Bowser-Miles Addition, an Addition to the City of Dallas Dallas
County, Texas, according to the Plat thereof recorded in Volume
2001122, Page 2013, Map Records Dallas County, Texas.

The real property located at 4723 Royal Lane, Dallas Dallas
County, Texas more specifically described as Lot 4, Block 1/5503
of Royal Gardens Addition, an Addition to the City of Dallas Dallas

 

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County, Texas According to the Map thereof recorded in Volume
15, Page 139, of the Map Records of Dallas County, Texas.

The real property located at 6725 Stichter Ave., Dallas Dallas
County, Texas more specifically described as Lot 5, in Block
2/5489, of Crest Manor Estates an Addition to the City of Dallas
Dallas County, Texas according to the Plat thereof Recorded in

Volume 20, PAGE 233, of the Map Records of Dallas County,
Texas.

2013 Ford F150, VIN 1FTFW1R67DFB97578. '

2013 Mercedes Benz ML350, VIN 4JGDASJB2DA168066.
2013 Mercedes Benz S63, VIN WDDNG7EBODA511749.
2012 Ford Expedition, VIN 1FMJU1K50CEF01609.

2013 Mercedes-Benz ML350, VIN 4JGDA5JBODA196870.

2013 Ferrari 458, VIN ZFF67NFA8D0192116.

78. . lf any of the property described above, as a result of any act or omission of the

defendants cannot be located upon the exercise of due diligence; has been transferred or

sold to, or deposited with, a third party; has been placed beyond the jurisdiction of the

court; has been substantially diminished in value; or has been commingled with other

property which cannot be divided without difficulty, the United States of America shall

pursue and be entitled to forfeiture of substitute property, pursuant to 21 U.S.C. § 853(p), l

as incorporated by 28 U.S.C. § 2461(0).

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ERRIN MARTIN

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A TRUE BILL

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FOREPERSON

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA
v.

USPLABS, LLC, A TEXAS CORPORATION;
JACOBO GEISSLER (a.k.a Jacob Geissler);
JONATHAN DOYLE;

MATTHEW HEBERT;

KENNETH MILES;

S. K. LABORATORIES, INC., a California Corporation;
SITESH PATEL; and
CYRIL WILLSON (a.k.a ERIK WHITE).

 

 

FIRST SUPERSEDING INDICTMENT

18 USC § 1349 (18 U.S.C. § 1343)
Conspiracy to Commit Wire Fraud

18 U.S.C. § 1343
Wire Fraud

18 U.S.C. § 1505 and 18 U.S.C. § 2
Obstruction of Agency Proceeding

18 U.S.C. § 371 (21U.S.C. § 331(a) and 21 U.S.C. § 333(a)(2))
Conspiracy to lntroduce Misbranded Food lnto Interstate Commerce

With an Intent to Defraud and Mislead

21 U.s.C. § 331(a) and 21 U.s.C. §333(3)(2)311<1 18 U.s.C. § 2

Introduction of Adulterated Food lnto Interstate Commerce
With an Intent to Defraud and Mislead

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21 U.S.C. § 331(a) and'21 U.S.C. § 333(a)(1)
Introduction of Misbranded Food lnto Interstate Commerce

21 U.S.C. § 331(a) and 21 U.S.C. § 333(a)(1)
Introduction of Adulterated Dietary Supplement lnto Interstate Commerce

18 U.S.C. § 1956(h)
Conspiracy to Commit Money Laundering

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(0); 18 U.S.C. § 982(a)(1)(A)
Notice of Forfeiture `

1 1 Counts

 

A true bill rendered

 

" \
DALLAS FOREPERSON

Filed in open court this 5th day of January, 2016.

 

Clerk
No Warrant Needed

/fj

 

 

ITED STATES MAGISTRATE JUDGE '
Magistrate Court Number: 3:15-CR-00496-L

